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Case 09-14814-gwz Doc1215-5 Entered 07/27/10 19:25:56 Page 1of 25

) Rhodes Homes Arizona ae

2215 Hualapai Mountain Road, Suite H
Kirigman, Arizona 86401
Phone: (928) 718-2210
Fax; (928) 718-1322

Consultant Agreement . ie

Date: : 2/28/05
. To: Stanley Consultants
Project: ‘Temple Bar AR 14 The
Type of Work: Engineering sot og
Contract:  .- TBMP1000-182 i

Attached you will find your Consultant Agreement for the project stated above.

Please_sign and initial all pages of both contracts as indicated and retum both
contracts fo our office as soon as possible, A fully executed copy will be returned fo
you. .

NOTE: Every page of this contract must be signed or initialed to be considere
valid, .

We look forward to a prosperous business relationship with your company, / \ .

Sincerely,

Rhodes Homes Arizona .

Enclosures

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Case 09-14814-gwz Doc1215-5 Entered 07/27/10 19:25:56 Page 2 of 25

‘referred to as *Conaultant, provides as follows:

(Co

Consultant Agraement

This Agreement made this 28th day of February, 2005, by and batween _Rheodes Homes Arizona, LE. a
hereinafter sometimes referrad ta as "Gllant’, and Stanley Consultants, sometimes harenatie oe

Oate: . 2/28/05
Project: Tampie Sar (heralnafter sometimes refarred to as “The Project”)

Gontract Price: $337,650.00
RECITALS:

A Client is the developer of The Project. Client fs entering Into this Agreement with
Consuttant to perform the professional services described within the Scope of
Services, attached as Exhibit “A” to thls Agraamant.

B. Consultant is qualified to provide the professional services agraed to within this
Agreement as requested by tha Citent. H Consultant ls not qualified to perform the
services indicated hereln for completing the work, Consuftant will immedlataly notify
Gliant of such in writing. . .

Cc. - "Consultant shail malntain the schedule as mutually agreed upon unless outside ©
clreumstances such as governmental reviews, natural disasters, or other unknown or
uncontrollable influences occur. The clisnt shail be notified immediately of any

: changes to the schadule.
WITNESSETH:

{N CONSIDERATION of the mutual promises and covenants hereinafter set forth, tha Client and the
Gonsuliant agres as follows: . ‘

L Services: Consultant shall perform the professional services described In Exhtbit “AT and
elsewhere throughout this Agreement. Exhibit “A" is attached hereto and incorporated herein ~

by reference (Ihe "Scope of Services”),

2, Non-Exelusivity: Thia Agreement shalt not act as an exclusive contract limiting the Client to
use only Consultant at the Project. .

3. Standards: All services shall be performed by the Consultant in a manner consistent with
that level of cara ordinarily exercised by reputable members of ihe profession who are
currently practicing in the same locallly under similar conditians. =~

4. Goverment Regulations: Consultant shail comply with all known laws, statutes,
ordinances, standards, rules and reguiations, policies, licensing requirements, Insurance
requirements, practices, and procedures of federal, stale, municipal, and special district
governmental authorities which are applicable to the services covered under thls Agreement.

5. Materlala: All necessary labor, licenses, and any other ems ‘necessary to complete tha
services ag outlined in Exhibit "A* (hereinafter collectively referred to as the "Materials'), must,
ba furnished by the Consultant and shail be a part.of the contract price unless itis specifically

excluded In Exhibit "A".
Repraduction of six (6} copies of documents needed for the production, design, and submittal

of plans and maps are included in the contact price. In addition, met
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oo . Rhodes Homes Arizona,

Stanley Consuittants 0”

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Case 09-14814-gwz

Doc 1215-5 Entered 07/27/10 19:25:56 Page 3 of 25

document, map, or plan will be provided-to the Cilent during {he preliminary stages, prior to
the first submittal, after each additfonal submittal, and immediately afler approval and
recordation The total cast of these copies [s included In the overall price of this contract,

Any additional reproduction of plans and decuments requested by Client which are not
included in the contract price shall-be directed by Client to Client's reproduction company of
choice at Client's expense in the event changes are requested by the Client, an additional
fea shall ba negotlated for those copies at the instance of the Consultant at the Ume of

Tequest :

Licensing Requirements; As a condition of this Agreament, Gonsuitant shall maintain in
effect at all times during the term of this Agreement a valid and appropriate Rcense and/or
registration for the State of Arizona, or any other governmental or administrative body as may
be applicable. Coples of current applicable iicenses shall be submitted to Client upon
request. Furthermore, Gonsultant shall ensure that each of ts employees who are subject to
Heensing and/or registration maintain a current and valid licanse and/or ragistratian while
performing work on the project. Consultant will notlce Cllent in writing immediately of any
changes to Consullant’s registration licensa status..

Key Parsonnel

a. Award of this contract was based upon a review of the personal qualifications proposed
by the Consultant. This includes, but is nol fimited te, Consuitant's current organizational
char, tha described intemal schedule of processing for the recordation of map(s), and

the current Principals of the company.

b. ‘The Client will be notified Immediately if thére Is a change In Key Contact Personnel
including ihe names and qualifications of these individuals.

¢. Should the individuals originally assigned to Client not be able to perform the work, the

Consultant shail send written notice of any propased replacement or addition, including a

’ statemant of quaiffications, by Individual name. Such proposed replacement or addition
must be sent to Cilant immediately.

d. Client reserves the right to reject any proposed replacement ar addition and/or to request
additional qualifying documentation.

a. Key personne! designated by Consultant may be subject to an Interview with Cilent to
substantiate the knowledge and experience that has heen represented.

f, Prior to baginning werk, the Consultant wil supply Client with a Key Contact Personnel
List to include their job, tile, and contact Information. Consultant will also supply Client
with a list of employees authorized to sign contracts and change orders.

Gonsultant’s Representations:

a The Consultant shall perform the services outlined In Exhibit "A" ina manner consistent
with. that level of care ordinarily exercised by reputable members of the profession
currently practicing in the same focality and under simfar conditions. Consultant
understands the nature and scope of services and shall perform ail services as required

in thls Agreement. .

b. Consultant shall attend a weekly status meeting according to Client's requests Fees for
weekly meetings shail be included In the lump sum price for the duration indicated in

Exnibit ‘A’,

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_Case 09-14814- “gw2 Doc 1215- 5 Entered 07/27/10 19: 25: 36 _Page 4 of 25

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12.

Indemnification: To the fullest extent permitted by law, Consultant shall indemnify and hold
Ctient harmless from and against any and al) claims, llabllities, demands, tosses, actions,
causes of action, damages, costs, expenses, fines, and penalties of every natura, Including
but not limited to those resulting ‘from injury to persons or property, which ara caused by
Consultant's negligent act, arror, or omission in the performance of tha services under this
Agreement or by its breach of this Agreement. Consultant shall not ba responsible to
indemnify Client from any Hahillty, claims, judgments, losses ar demands ihat are caused by
the negligence of the Cilent. in the event Client and Consultant are determined to be jointly
at fault, any ability as between Client and Consultant shall be altocated between Client and
Consultant in accordance with thelr proportionate share of such fault.

Attorney's Fees: If either party becomes Invelved fn litigation arising-out of this- Agreement
or the performarice thereof, the court shall award reasonable costs and expenses, including
attorney's fees, to the prevailing party. In awarding attorney's fees, the court shall not be
bound by any court fee schedule, but shall, in the interest of Justice, award the full amount of
costs, expenses, and attorney's feas paid or incurred in good faith.

Confidentiality of the sultant: Consultant acknowledges and agrees that throughout
the term_of this Agreement, Consultant may obtain information about the Client or the project
which Is highly sensitive and confidential. fExcept.as required by law or by a court of

‘competent jurisdiction, Consultant agrees nat to disclose Client confidential information to

unrelated third partles outside the scope of Ihe services without the express written consent
of the Client, Nothing herein shall be deemed to prohibit Consultant from making a
disclosure of a violation of law or of a matter necessary to protect the health or safety of any
persen. Consultant will notify Cltent prior to releasing any disks or maps provided fo other
consultants’ that are prepared In conjunction with any work/services for Client. Required
coordination with any agency necessary for the approval or construction of this project is
hereby granted, .

Insurance: Consultant shall maintain adequate Insurance coverage at its own expense at all
times during the full term af [ts services under this Agreement and as otherwise required
hereunder. Insurance coverage must have policy limits not less than those set forth below
with Insurers ticensed to do business in the State of Arizona and which Is acceptable to the
Client and under forms of paticies satisfactory to the Cilant, There are no other requirements
contained herein as to types, limits, or Client's approval of insurance. Client coverage to be
maintained by Consultant fs intended to and shall net in any way or manner [Irnit quality or
quantity of the Wlabilities and obligations assumed by Consultant under this. Agreement or

otherwise as may be provided by law.

The following items must he submitted to the insurance Coordinator of Rhodes Homes

Arizona prior to payment of any invoices or acceptance of any work Consultant agrees that It
shall not be entited to such payment until such time that the fallowing have been recalved by

Client.

a. Genera! Laity Insurance Coverage in the amount of $2,000,000 aggregate. The
Certificate holder's box must show the following names as additionally insured:

. Rhodes Homes
» ‘Rhodes Homes Anzcna
» « James M Rhodes, Individuaily

This ‘Certhi cate must also have attached dn additional Insured endorsement In a CG 2026
1185, or a CG2037 1001 FORMAT which names the same three names as additionally
Insured. The insurance company providing the Insurance coverage must have an AM
Best Rating of At or belter'and must be admitted in the state of Arizona.

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Doc 1215- So Entered 97/27/10 19:25:56 Page 5 of 25 —

The Name of the project must be noted in the Description Box. (We require an Originat
Insurance Certificate for each project.)

b. Comprehensive Automobile Liability Insurance in lhe amount of $1,000,000.

¢. State Industrial Insurance Certificaté of Workmen's Compensation Insurance, Certificate
which shows that you are covered. if self-Insured, a certificate showing that you are

covered.

Professional Liability:

Consultant agrees to provide and maintain, ‘at its expense, a Professional Liability Insurance
Policy of $1,000,000 per claim for a pericd not less than five (5) years after ihe date of the
final completion of the work that Is performed [n accordance with the services if commeretally _
available and affordable, Consultant shall provide Client with a copy of the terma and
conditions of the polley providing Professional Liability coverage.

Consultant's Equipment Policy:

Any such insurance policy covering Consultant's or outside ‘Consultant's or Consultants
equipment against loss by physical damage shal! Include an endorsement waiving the
Insurer's Tight of subrogation against the Indemnities. Such Insurance shall be Consultant's
and cuiside Consultant's and in-house Consuitant's sola and complete means of recovery for
any such foss.” Shadld Consultant or any outside Consultant or in-house Consultant choose
to self-insure this risk, it is expressly agreed that the Consultant and the outside Consuitant
and in-house Consultant hereby waive any claim for damage or loss fo said equipment In

favor in the Indemnities.

Other Requirements:

Evidence of the insurance coverage required to be maintained by Consultant represented by
Certificates of Insurance issued by the Insurance cerelar(s}, muat be furnished to the Client
prior to Consuttant starting its services. Certificates of Insurance shail specify tha additional

Jnsured status mentionéd above as well as the waivers of subrogation. Such Certificates of

Insurance shall state that Cllent will be notified in writing thirty (30) days prior to cancellation
or non-renewal of insurance. Consultant shall provide to Client a certified copy of any and ail
applicable insurance policies prior to requesting or receiving payment from Client and priar to -
staring work, Timely renewal certificates will be provided to Cllent as the coverage renews.

Insurance similar te that required of Consultant shalf be provided by or on behaif of all outside
Consultants and in-house Consultants to cover thelr operations performed under this
Agreement. Consultant shall be held responsible for any modifications in these insurance
requirements aa they apply to Consultants. . Consultant shall maintaln Certificates of
Insuranca from all Consultants, enumerating, among other things, tha waivers In favor of, and
Insured status of, the indemnities as required herein and make them avaliabla to Client upon -

request, The term Consultant(s)" shall Include Consultants of any ther.

Additional Required Documents:

“a. State-of Arizona License. Copy of unexpired license, if required by law.

b, ‘Copy of current unexpired business licenses, whichever Is applicable to the subdivision
or job.

1) Mohave County
2} Cily of Kingman

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Case 09-14814-gwz Doc 1215-5 Entered 07/27/10 19:25:56 Page 6of25 _

c, A valid W-9 must be on file.

4 Use of Work Product:

a. Consultant's work product shall be delivered to Client per a mutually agreed schedule In
accordance to paragraph 16 of this Agreement and may be used by Client for any
purpose connected with the project in accordance with paragraph 16 of this Agreement
Consultant agrees to provide Client with the disks containing the work product of the
Consultant in a ‘format as agreed upon at the initiation of project and ta the Client's
specifications. Under no circumstances shail transfer of drawings and other Instruments ‘ff
of sérvice on electranic media for use by the Client be deemed a sale by the Consultant,
and the Consuitant makes no warranties, either express ar Implied, of Consuitant's items

of work.

b. Documents, ‘Including drawings and specifications, which are prepared by Consultant
pursuant to this Agreement are not intended or represented ta be sultable for use by
Client or others other than for their originally intended use at the Project. Any use of-
completed documents other than a8 originally intended, without written verification or
approval by Consultant, will be at Client's sole risk and without liability or legal exposure

to Consultant. [

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c, Consultant shall not release any non-public data or work product prepared under this
Agreement to any clher consultant, entity, or private/public organization without the prior .
written authorization of Cllent with the exception to those dacuments that must be .
released to public record prior to approval or recordation . . i:
> . : i

45. Review and Approval of Work:

a Cllent reserves tho right to have the Consultanfs work product reviewed by other ~ o
consultants er by Client at its discretion. Consultant shall fully cooperate with the Client Pog
and ita agents in review of its work product. Consultant shall immediately provide either :
appropriate changes ar a written response as a result of such outside review. Additional mo '
costs, if any, for such changes and or responses shall be negotiated prior to making such
changes and/or responses. {f said changes are for value engineering purposes, said
revisions will be done after the Client has approved them on a time and materials basis.
If Client and Consultant are unable to resolve such dispute, Client and Consultant agree
to mulually select an independent party to seek a resolution thraugh mediation.

&. Provided the Consultant is given clear written and spoken directions from the Client, work
Is to conform to tha Client's acceptance and internal specificatfaris as they are provided
prior to start of work in addition to City and County specifications, acceptance, and
approval. If there is a conflict between the’Cllent’s specifications and the governing
agency's specifications, the governing agency's specifications shalt prevail. Furthermore, _
Client requires that on or Before 10% of the work is complete and on a regular basis
thereafter, Consultant shall present ifs design to Client to obtain approval and/or advice
on how to mitigate design discrepancies early in the process. - .

¢. Consultant's work shall be In a manner consistent with that ievel of care and sill
ordinarily exercised by reputable members of the profession currently praciicing ‘In the
same locality under similar conditions and shall be deemed camplele when It has been [ote
signad, approved, racorded, and accepted by the aoplcsble governing agencies, and the as
approved coples have been presented to Glient.

16. Schedute; if provided for In Consultant's Scope of Services, the Consultant will supply and
update a detailed orltical production/design review schedule on a weekly basis for tracking
purposes Which inctudes planned versus actual completion timeframes for both entity reviews

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Case 09-14814-gwz

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Doc 1215-5 Entered 07/27/10 19: 20. 56° Page ? of 25

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and Consultant production, Consultant shall maintain the schedyie as mutually agreed upon
unless outside circumstances such as governmental reviews, natural disasters, of other
unkaown or uscentollable Influences eccur, The client shail he notified Immediately of any
changes to the schedule Additional fees may be required for any unforeseeable delays in
(he project that are outside of tha Consultant's contrel.

Changes: From time ic time, Cilant may require changes In the Scape of Services of the
Consultant to be performed thereunder. Such changes, including any increase or decreasa
in the amaunt of the Consultant's compensation, which are mutually agread upon by and
between Client and Consultant shall be Incorporated In written amendments or Change
Orders io this Agreement and signed by ail parties hereto prior ta performing additional
services. Client and Consultant may request an amendment of the provisions of this
Agreement however, oral understandings shalt not be binding. To he valid, all such
amendments shall be made in writing and signed by ail parties hereto.

Waivers: No waiver or Indulgence of any breach er series of breaches of this Agreement
shalt be deemed or construed as a waiver of any clher breach of the same or any other
provision hereof, nor shall it affect the enforceabillty of any part of this Agreement. No waiver
Shall be valid or binding unless executad in wilting by the waiving party.

Termination:

a, The Client nay terminate this Agreement at any time by written nalice to the Consultant
subject to the payment of ail fees and expenses incurred ihrough the termination date.
Upon such termination, Consultant shail deliver to the Cilent alf plans, drawings,
computer disks and the like which were prepared by the Cansultant in connection with
this Agreement of said Project. Consultant's plans, drawings and the like may be directly
or indirectly used by the Cllent to the extent permitted by law; provided however, Client
hereby agrees to indemnify and hold Consultant, its officers, directers, employees,
consultants, and subcontracters harmless from and agalnst any and all claims, lfabitties,
demands, losses, actions, causes of actian, damages, casts, expenses, fines, and
penallies of every nature, including but not iimited to those resulting from Injury to

persons or Property -

b. This Agreement may not be terminated by Consultant except by breach of this
Agreement by Client, to Includa nonpayment of fees within 30 days of invoice

which is not cured within filteen (15) days following Client's receipt of Consultant's ~

Inveice,

s. Changes fo the approved plans without: Clients authorization will be grounds for
terminating this Agreement.

d@. In the evant this Agreement is terminated, ail finished or unfinished documents, data,
drawings, models, photographs, raports, or other material prepared by the Consultant
under this Agreement shall become oligible for any intended use by Client, and
Consultant shall be entlled to receive just and equitable’ compensation for work
completed on such documents and other materials. All plans, documents, comments

from agencies, and notes become eligible for any use by Client In feturn for the —

compensation received. Client Is to recelve.from Consultant a hard copy and an
eléctronic format copy of all work performed by Consultant for Client regarding the
Project for the cost of duplication and rezsonabile personne! time.

Assignability: Consultant shall not assign this ‘Agreement or any portion thereof or any of its
rights or obligations hereunder without tha expressed written consent of the Client

Payment:

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Case 09-14814-gwz Doc 1215-5 Entered 07/27/10 19:25:56 Page 8 of 25

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- 23,

a. Consultant shall provide Client with a monthly statement of fees and expenses by the 1st
of each manth for payment on the 27° of the same month Statements received after the
4st of each month will be paid as if submitted the following month. Partial payment to the
Consultant shall not be construed as approval or acceptance of work furnished

hereunder,

b. Fees and expenses described herein are not to exceed the fees as set forth In Exhibit “B"
without the prior written approval of the Cltant. Cliant shail have no iiabilily for payment of
sald fees should they exceed fees a3 set forth in Exhibit "8" without the prot written
approval of the Glient. Ail fees exceeding the amounts agreed to herein will be approved
by both Client and Consultant prior ta the commencement of services.

Consultant shall pay all llens {including beneficial use iians), clalms, charges, or other
impositions of any nature or kind imposed upon Consultant or arising ‘out of or in
connection with the services performed or materials provided for hereunder and shail

_ hold farmiess and indemnify Client there from. Client reserves the right to pay any flens
that ara imposed as a result of any work performed by sub-consultants of Consultant
Consultant shall reimburse Client for such payments. The fees in this propesal do act
Include any taxes, If any, whether local, state, ar federal on professional services,
including but not limited to sales tax. The amounts of any taxes will be added io the
professional service fees as they are invoiced ard will be identified as such.

d, To the extent Consultant's services have not met the Standard of Care as written in -
Paragraph 3, Consultant shall ba held responsible for errors in the flald created by io

Conbultant’'s Jesigns. Consultant shad be informed of errors ‘immediately upon discovery
and shall Rave the right to make adjustments to the plans in order te correct the error. 8/z25 W

Consultant shall have fhe right to review the costs submitted by the contractor for the
remedy prior to commencement.

“9

Notice. Any notice in this Agreement shail be in writing and shall be effective upon personal
delivery, certified mailing return recelpt requested when deposited in the United States mail,
or upon confirmed transmission by telegram, cable, telex, or a facsimile.

Entire Agrsemant: This Agraement contains ail the terms, conditions, and provisions hereof
ereating the understanding and representations of the partles relating therete regarding this
Project. All such prior written and/or oral proposals, representations, understandings, and
discussions are superseded by this Agreement. This Agreement may only be modified or
amended by further written agreement executed by the parties herato.

Authority: Each of the undersigned signatories declara and represent that they are duly
authorized to sign this Agreement and bind each of the parties herein to all the terms and

. conditions as outlined herein.

25.

26,

Binding Effect, This Agreement shal! be binding upon the heirs, s, personal representatives,

" successors, and/or assigns of thea Consultant :

Return_of Agreement: Consultant shall execute and return this Agreement within five (5)
calendar days from the date of the Agreement. Consultant shall not commence with servicas

and/or work prior to receipt of a fully executed Agreement. Consultant shall be due no
payments for work completed until both pariles have fully executed this Agreement.

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Case 09-14814-gwz Doc 1215-5 Entered 07/27/10 19:25:56 Page 9of 25.0...

IN WITNESS WHEREOF, the parties hereto have executed this Agreement on the day and year

writton ahove. tar
Stanley Consultanta Rhodes Homes Arizona uc Be :
5820 8. Eastern, Suite 200 2215 Hualapat Mountain Road, Suite H .
Las Vegas, NV, 89119 Kingman, Aczona 86401
Phone 702-369-9398 Phone: (928) 718-2240
Fax Fax: (928) 718-1922
Obi) Hufos.
Authorized Signatura Date Du O Ln 3
357
ue Date
fr Dwip wleo the Gert -.
If nue amount is’ over $25,000, then two (2)

Print Nama

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Rhodes Homes Arizona signatures are required.

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Marlan Waiker, Division Manager f Ddie 7

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Case 09-14814-gwz

Doc 1215- ‘8 Entered 07/27/10 19: 25: 56 _ Page 10 of 25 a .

Exhibit “A”

SCOPE OF SERVICES

1 , GENERAL CONDITIONS OF THE SCOPE OF SERVICES

1. SITE NAME _ Temple Bar

2. SITE DESCRIPTION Approximately 5 sections of residential and/or commercial —
subdivision located within Mohave County, between Hoover Dam and the Cily of Kingman,
Arizona. This site Is located east of U.S. Highway 93 inside the Nalianat Park Services .
Boundary: Sections 1, 3,11, 9 of T 29. N, R 18 W and Section 35 of T30.N, R18 W.

3. REIMBURSABLE EXPENSES
A hudget amount has been set for reimbursable expenses (Sea Exhibit B - Schedule of

Values). Reimbursable expenses Include such items as courier service, mileage,
reproduction costs, etc.. Any and all fees required to be paid to government agencies,
quasi-government agencies or utility agencilés ara NOT considered reimbursable
expenses and will bé paid by check provided by Client. These payments will be

« scheduled by Consultant and outlined in Exhibit C”, Time of Compietion, giving expected
dates whan payments will ba required and expected amounts of checks needed.

4. MEETINGS
a. Consultant Is required fo attend at least one weekly meeting at client's office to give a

Project update
b. Consultant is required to attend ail public hearings and government agency meetings

that pertain fo the project,

I, PRELIMINARY ENGINEERING SERVICES

The tasks contained in this phase of the scope of work are required prior to the finalization of the
subdivision design and final map preparation,

1. TOPOGRAPHY AND AERIAL MAPPING
% A field survey Will ba performed to establish horizontal and vertical groaund-contral points far

use in aerial photegrammeiry. The vertical datum willl be based on NAVO8S and the
herizental datum will be based on NAD83, utllizing GPS survey techniques,

® The fight, aerial mapping and DTM will be provided by a sub-consultant. The mapping and
DTM will be sufficient fo provide 2-faot coritours on the subject property.

% Boundary will be based on maps of record and a field survey,

%& The survey drawing will be available in hard copy and electronic farmat (AutoCAD) as
required.

™ Sefvices are based on the authorization for the survey feam to enter the property for
purposes of conducting the scope of services required for the project.

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_ Case 09- 14814- QWZ _Doc 1215- ‘S _Entered 07/27/10 19: 25: 56 Page 11 of 25 |

< “ ~ The services herein are based on the receipt of a current title report with coples of all deads
, } and instruments referenced therein (Supplied by owner)

© = This survey will not include any references to: tease agreements, oil, gas and mineral rights,

~ matters that are strictly contractual and items.which cannot bs located upon tha subject tract
by a specific physical description. Those matters are given canstructive notice In a Gle
commitment and must otherwise ba addressed by the partles involved and/or addressed by
legal counsel. This survey will nat address: compliance or assessment of existing utilities,
wetland determinations, fauit lines and/or environmental assessments that are beyond the
surveyor's expertise. Any speclal survey requirements, changes to our standard certification,
special items fn the certification required by any other party and agreed by the surveyor, must
be negotiated before any work is commenced.

2. ALTA/ACSM LAND TITLE SURVEY
% «Perform a survey based upon the minimum standards established by ALTA/ACSM in 1999.

“+ in addition, the following items of Table A will be included in qur contract amount. tems 2, 4, i
8,11 a&band 13.

3, BASE PROJECT EXHIBIT
Consultant shall prepare a project exhibit for use and discussion. The exhibit will be computer e
% generated and Include property boundaries and ground topography. =~ :

4, INFRASTRUCTURE , Y.
+ Consultant shall research, analyze and develop conceptual approaches to water, wastewater,
power and drainage infrastucture to consist of the following:
~ Layout of water and sewer alignments
~ Layout of the transportation circulation elements
- Layout of general drainage patterns and major facilities for the proposed plan
+ Layout of general power utility and major existing facilities
« Investigalion will include water quality Investigation with teaiment and/or disinfection
requirements. Water rights apd options to provide service to a proposed development wil be
investigated.

cn + Work wil Include a computer generated exhibit of the subject project property and Immediate
es , . adjacent properties. This mapfexhibit will be used for ali preliminary planning activities,
utilRies services investigations and graphic depiction.

*& Consultant will prepare up to two (2) separate facillty plans. : . i

“Investigation will include wastewater treatment strategies for on-site, off-site and hauling
methods of wastewater management. |

~~ Effuent Reuse and Disposal alternatives will be investigated and reported.

§, CONSTRAINTS EXHIBIT WITH OFF-SITE IMPROVEMENTS :
%& ‘Consultant shall incorporate all due diligence/intelllgence gathered and/or calculated as part Poo
of the preliminary report preparation and investigation and develop an over-all area wide . be
constraints map (includes the project area plus an additional oné section around the
perimeter), which clearly defines all utility corinections and discharge polnts. All utilives
Include: Water, sewer, storm drainaga, existing dedicated ROW for roadway/streets, gas
electrical, cable, telephone, and fiber optics {when applicable).

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Case 09-14814-gwz

Doc 1215-5 Entered 07/27/10 19:25:56 Page 12 of 25

% Consultant shail meet with al} focal providers of utilitles services, County and/or other
Jurisdictional review agencies to provide a completed and concise constraints exhibit

4, LANG PLANNING AND ENTITLEMENTS
Consuitant shail investigate the requirement fo complete a Ganeral Plan Amendment, zone
change applications, facility plan, special use permits and other entitlements that may be
required to support this project including coordination with the BLM and other agencies that
have Jurisdiction over the project site. Special or independent land use submittals packages
that may be desired by the client will be completed on a time and materials basts In addition
to the contract amount following approval from the client

7, BRAINAGE STUDY
* Consultant shall prepara a concaptual on-site technical drainage study for the overall Project.

The study will address existing drainage cancers impacting this site. The conceptual
drainage study will be prepared In accordance with the Mohave County area finod contral
standards, The consultant will be sensitive to the conditions and requirements of FEMA
during the preparation of the Technical Drainage Study. Leecal drainage conditions wal be
incorporated In 2 manner that meets FEMA requirements. No regional or off- site < area wide
Orainage Report is included as part of this project.

& This task Is based on the préparation of one drainage sludy for the Project. Additional
Drainage Investigation shall be performed by the consultant at the clients direction on a time
’ and oraterials basts In addition to the contract amount following approval from the client.

&. WATER / SEWER STUDY
% Consultant shall calculate a preliminary water demand for the entire property to determina the
overall usage and storage for the ultimate byildout. .

» Consultant shall investigate two possible water service strategies for the entire property (if
applicable).

~ Consultant shall prepare a summary report of the preliminary pipe size and backbone layout
proposed for the entire property. Tha summary report will arialyze potential water pressures
and facies required for domestic water supply.

_4 Consultant shail investigate the area Department of Water resources agencies (if applicable)
in Arizona ard research the availability of a ground water contour map to show approximate
ground water activity and levels. This effort will only includa available Information as
determined by 4 search of existing and readily available records, No self performing activities
will be invalved by the consultant to determine ground water availability, quality and / or dapth
from ground surface.

% Consultant shall research existing and proposed options for water and sewer service and
develop a detailed work plan to estabfish public utility services.

9. TRAFFIC IMPACT ANALYSIS AND TRANSPORTATION INFRASTRUCTURE
« Consultant will prepare a conceptual traffic Impact study to address the impact to local streets
and Stale Route 66. The traffic study will evaluate the general (maximum density) on-site and
off-site clfcutation and affewable turning movements at key intersections. The tratfie study will
project tha traffic guneration characteristics of the project and the- participation required from
the Client . . .

% This proposal excludes traffic signal designs, gap analysis, progression analysis, regional
traffic modeling or other traffic engineering services not specifically stad above, Should
Client desire such services, Consultant shall provide these services as an extra service to the

contract,

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CL05227

Case 09-14814-gwz Doc 1215-5 Entered 07/27/10 19:25:56 Page 13 of 25 a

10. ENGINEERING/PLANNING (MEETINGS, EXHIBITS ANO WORKSHOPS)
~~ Attend meetings; prepare exhibits ag required for completion of Phase 1 services,

71. ENVIRONMENTAL STUDY . i
> Consultant will prepare a Phase | Environmental Site Assessment (ESA) for the entire
property. Services will be conducted in generat conformance with the scope and Hmitattans i

with the American Society of Testing and Materials (ASTM) E1527-00. :

12. PROJECT SCHEDULING . :

%& Consultant will prepare a detalled project schedule using Microsoft Projects software and :

include ail tasks beginning with the project lnitiatian to the construction of the first phase of
subdivision development. .

+ = The project schedule will be updated on weekly basis or as needed by significant changes, .
13. 404 PERMITTING AND BIOLOGIST STUDY

Stanley Consultants will be contracting with SWCA, Inc. for this task. Please see the following for
the Scape of Services.

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- Rhodes Homes Aj vg
Stanley Consultants LY”
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CL05228
Case 09-14814-gwz — Doc i215- oo _Entered 07/27/10, 19: 25: 56_ _Page 14 of 2

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Exhibit “B”
SCHEDULE OF VALUES

Part |: Stanley Consultants Inc. proposes to complete the following parts of the Phase | efforts on a
lump sum amount basis. .

Consultant will invoice client monthly based on percentage complete.
1, Base Maps and Boundaries; Topo and Aerial Mapping;

2. ALTA Survey
Lump Sum Amount of : $ 83,650.00

Part II: Stantey Consultants Inc. proposes to complete the following parts of the Phase | efforts ona
Time and Materials not fo exceed basis.Billing will be monthly per the consultants ‘standard hourly

fees and schedule-altached.
. 3, Base Project Exhibit $ 10,000

2 4. Infrastructure
§. Constraints Exhibit and Off-site Improvements$24,G00)$ 27,000 JOW NM _
’ I

_ §&. Land Planning & Entitlement $ 15,000
O7-Drainage Study § 16,000 Bhajes —.,
® a. Plans to Establish Water and Sewer Co. $ 15,000

© &b. Master Waler/Sewer Study $ 24,000
© §. Traffle Impact Analysis and Trans. Infrastructure $ 15,000
#10. Engineering/Planning/Coordination Mestings $ 20,000
25 11. Phase t Environmental site Assessment $ 15, O00

_~ 12, Project Scheduling $ 5,000

” Time and material nat to exceed $ 186,000

Part lk Subconsuitant's 404 Permitting, Biclogical Resources Survey, and Cullural Resources
Inventory efforts on 2 Time and Materials not to exceed basis. Billing wil ba monthly per tha
consultants standard hourly fees and schedule attached

13. 404 Permitting; Bioldgical Resources/Cultural Resources

Stanley Consultant's Subconsultant Fee (x10%)

$61,820
$6,180
Time and material nat to exceed § 66,000

Grand Total: $ 337,659.00

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Stanley Consultants

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fase 09-14814-gwz Doc 1215-5. Entered 07/27/10. 19:25:56, Page 15of25

” Exhibie “C”

“TIME OF COMPLETION

ineer} ule:

{seo attached Schedule) i

Time of completion is deterrained by Client for which Consultant will provide its services on an “on-
call’ basis.
i

Client must make all staking requests 44 hours in advance,

i

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Case 09-14814-gwz

Doc 1215-5 Entered 07/27/10 19:25:56 Page 16 of 25,

Exhibit “D”

RHODES HOMES ARIZONA
2215 Hualapal Mountain Road, Suite H
Kingman, Arizana $6401
{928) 718-2210 Phone
(928) 718-1322 Fax

Ghange Order

Change Order #:
, Client Rhodes Homes Arizona
Consultant Stanley Consultanta
Project Namie: TEMPLE BAR
Description of Work: Civil Engineering
Consultant Agreement Date: 2/24/05
Contract #: TBMP 1000-182

This Change Order Is made this day of ; by and between
Rhodes Homes Arizona and for the following changes in work:

(Pescribe changes in work required, reasons for the changa, and associated costs of said change.)

Owner agrees to pay for all changes, if approved and required for the satisfactory completion of the
work, performed by the Consultant under this Change Order according to the terms of the Consultant
Agreement. The amount paid by the Owner shall be full compensation for ail wark raquested and for
all effect of this dacument on the work: The change, f any, in the Contract Price shail be computed
according to one of the following methods: | ‘

, {Check method appropriate ta the requested Change Order)

—— 1. No Change
—__ 2. Costs Plus a Fea $
__.. J. Unit Price- 5
4. Lump Sunvof.- $

if ftams 2 or 3 are marked, Consultant shall submit promptly to Client such itemized labor and
material breakdown as Cilant may require fer work performed or deieted from the Consultant

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Rhodes one sawn Ze
Stanley Consultants_ <4" sed
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Case 09-14814-gwz Doc 1215-5 Entered 07/27/10 19:25:56 _ Page 17 of 250

Agreement by this Change Order. The Consultant shall Include the cost of such change In ite next
application for payment in a separate [ine item.

The change, if any, in the Project Schedule resulting from the work requested by the Change Order
shall be determined according to the terms of the Consultant Agreement and allows for (check as

appropriate} anaddition __ a deletion of {__) days.

Tha undersigned agree to the changes, additions, modifications, or revisions in the work and, if :

warrantad by the Change Order, an adjustment in the Contract Price or the Client’s Project Schedule i

or the terms and conditions of lhe Contract Dacuments Issued on or after the effective date of the i

Consultant Agreement. . e

Stanley Consultants Rhodes Hames Arizona

Authorized Signature Authorized Signature . ‘

Print Name Print Name .

Title Title ‘
i Date Date ;

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oo . ‘7 ee |
Rhodes Homes Ari : ‘

Stanley Consultants 2” xf we

CL05232
Case 09-14814-gwz Doc1215-5 Entered 07/27/10 19:25:56 Page 18 of 25

i Exhibit 2
Compensation
Rhodes - Mehave County, Arizona

Stanley Consultants will provide the Professional Services as outlined i in Exhibit 1 on a Time and {
_ Material basisas follows: . , !

1. Rates for services on this Contract will be at the Direct Labor Rates attached (listed by Salary
Classification) TIMES a qmmultipilier éf 3.26 to cover labor benefits, genéral overhead costs and
Cousultant'd profit. ,

2. Rates for reiininasable expenses will bé per the attached Schedule of Charges and will generally
be ecst plus 10% including work of all Sub-Consultants /

43. PLRand Service Charge rates are 2 adjusted annually in April. New company published rates will
_ sipersede thése aifached herein. Any additional changes ta thé rates of teem memberg will be by
an addendum letter requesting Prior approval by the client,

. Consultant will endeavor ta staff the project with exiting and new persotinel a and specialty sub-consultanits
om an expedited basis for thé services outlined in Exhibit-1. One gach specialty sub-consitltant is Arico

ino. for master utility planning,

Also, Consultant ‘will provide sufficient staff 1 ‘provide’ additional related services for detailed
engineering, surveying, mapping and related services to support ibe overall Rliodes Homes - Mohave
County Program. Such projects to be contragted separately.

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Case 09-14814-gwz

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z . Loa . soe e
Interest at the rale of 1-1/2% per month will be charged on iwolces oot paki within 30 days:

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Entered 07/27/10 19:25:56 Page 19 of 25

Direct Labor Rates|
Fiseal

Year 2004-2005

Hourly Rates

SCAB wastes enecevnec sn csineee cre ectcengenettanie conpnaneorts etl

. : . 4
‘Triese rates are subject to change on of after April 2, 2005. They ara computed by dividing annual mid-point base -

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Case 09-14814-gwz Doc1215-5 Entered 07/27/10 19:25:56 Page 20 of 25

SES -
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% ve -
. 4 :
- Schedule of Charges
Fiseal Year 2004-2005
I Compensation for eras of expense and other ch in fon ‘with the
performance of the work shall ba in accordance wilh the toes scheduler
; Automobia $0.5dimile .
. Automobile Assigned ta Froject Sip | $30.00eal. day’ :
FoursWhoe! Orive Vahicles FO.siunile }
Four-Wheel Dive Vehites Assigfed te Project She $4000cal day .
Cémputer-Alded Drafting and Design (caDb} : $1h.0Gheur
Mylar Plats - $19.00/plot .
Global Positioning System Retelvéta $t&.50hour . :
i . Groured Transportation frental ear, taxi, wie} AtCost Pius 1%”
: Air Travel (corsnercial and charter)’ * Ab Cost Plus 10%
, . Uving Expenses (alvay trom ageigned offices} . Al Cost Ping 10%
Telephone and Facsimila Al Cost Flas 10%
Equipment Rental At Cost Piya .20%
Laboratory Wack . ALGésil Plus 10%.
: . 2 Sollé Testing and Analysis + AbCost Pius 10%
{ Ootside’ PHintographic Work at Gost Plus 10%
1 . : + !
: it Tethriieat Equipment, - it
Minknum sates wil-ba vied [o¢ up to ond Week. After that, the oitanded ves rate wilt bedsed, !
: _ Exdended usa rates apply where no mipiraum charge la Ksléd.
: . Minin Extinied Par Day
Small Grice Copiers tplus supplies) $30 OOAvenk 52.00
Fadia wi Charger . $15 do/waek, §200
; : Typewriters * : . . - $1.00
t Swiss Hammers : $15.Aweek 30.0
: : . —(Distoinvat. . _ $70.G0Mfenk + $10.00
. . Self Levaiing Level * . S20.00/waek $2.00
- ‘ : Theadonte « F20.00hweek - wo
_f . Ammaters: ‘& Other Efectical Test Equipment $15.00/manth . $0.00
: Fathanieter - $20.00 :
. Palnt Thickness Gage : Ts, 32.00 :
_ Poseh & Bindet >t - $0.50 :
Chala Saw. . : $20 odAveak- $5.00 i
Total Stall Equipment $200, 00/vnek $20.00 :
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‘Graphics
. Ink Jet Color ‘Transparencies . §2.50/imagh .
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Case 09-14814-qwz Doc 1215- 3 _Entered 07/27/10 19: 25: 56 Page 21 of 25

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Slave Cad $0.30/card = Duplicate 38mmRallFiim © $42 0dlrall ,
Kaypunch Labeting 39.00/unit ° Praperation of Drawings 50.15/aaca SS
35mm Rall Fim $0.40/ftame  - .
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rates; . $86 OO/hour $47 S0fhour $52.50/hour }
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Plate, (metal from. neg} ~ up to 20,000 :
impreasions $18.60 910.00 $1009
Genesis C7 P, « plates . $12.00 $12.00 ,
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. 14900 30 05 14x 17 size counts as 2 copies :
301 and up $0.035 . . . '
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. , Quoted prices based on quantity 18x24 Hand Copy 2,25
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4 Manual Process $36.00/hour :
: . Mechanical Process » $22.00/hour . :
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Case 09-14814-gwz Doc 1215-5 Entered 07/27/10 19:25:56

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Duplicate CDs x $25.00

above i

M. Compensation for purchages, Items of expanse, and olfier charges not
In connection with the performanca of fha werk, Siva be at cost plus 10%.

Vu. Interest at tha rate of {1/20 par month wil be charged on tnvaices hot paid within ag days,
Vill. Chergeis are cubject to ravigion on or after Aptil 2, 2005.

“Gall for quotes on larger quantities. , .

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22 of 25

CLO05237
Case 09-14814-gwz

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Doc 1215-5 Entered 07/27/10 19:25:56 Page 23 of 25

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4. CLIENTS RESPONSIBILITIES

i, 1 Nama CLIENT's rapresantabve with authority to raceiva
Information and transmit Inctructons for CLIENT

12 Provide: CLIENT's requirements for projéet, Induding -

bjecives and constraints, design and construction stan-
eats, bonding and Insuranee requirements, and contract
form. .

13 Provide available Information partinant to project upan
whieh CONSULTANT may rely.

4 Arrahge for access by CONSULTANT dpon publ and
privata property, as required.

13: Brarsing documents presented by “CONSULTANT,
obtain fagal and other advice 28 CLIENT deems appropriate,
and rendar Witten decisions within reasonable fime

16 Obtain consents, approvals, licenses, and pecmits
hecessary for project,

“UF Advertise for and open bids: when scheduled.

1.8 Provida sénices necessary for project but not within
scape ot CORSULTANT's services services .

ia Jincoernity CONSULTANT, ins entpioyees, agents, and

condultants agalnst calm’ arising out of CONSULTANT's
design, if there hés bean a devigtion from the design bayond
the CONSULTANT's contro! oF fallure to flow CONSUL
TANT's recommendation ‘and syd deviation or failure’
caubed the claims. .

"4.10, Prémptly notify CONSULTANT when CUENT leans oF

contractor error or any development that affects scope. or
thriving af CONSULTANTS Services,

2 Perion OF SERVICE

“24 CONSULTANT is nol responsible for delays due to
factors bayond is control. .

224 GUENT fequesis changes Ja oréject, compensation

for and Uma of perforinance of CONSULTANT's services
shall Ba ae noted spprepriately.

4. CONSTRUCTION cOsT AND Gost ESTIMATES

3.1 Construction Cost

3.44 “Constnicton cost" meahs total cast of entire project.

to CUENT, except for CONSULTANT's compensation and
expanses, cost of land, righls-ofaway, legal and accounting
services, insurance, financing. charges, and other costs
which am CUIENTs responsibilty 2s provided in this Agree
ment. .

Chgrmeley Cackoisunis Ine, 2704
Scams OYE 74°

Standard Terms and Conditions

Exhibit 3

3-12 Lebar dumished by. CLIENT will be inclurfed in con
struction cast af current market retes, Including a reasonkbie
allowance for overhead, fings benefits, and proat. Materials
ard “equipntent furnished by CLIENT wit be Included at
current markal prices F O.5. project sile, except that used
“tnaterial and equipment shail be Included as If purchased
new for project.

32 Cost Esthnates. Since CONSULTANT hae no contol

~ aver cost of [abér, materials, equipment os services fur

aished by others, aver contractors’ methods Of determining
-ptices, or over compatiiive bidding or market canditiona, ts
estimates of projact construction cost wil be made on tha
basis. ofits amployees' experience and qualifcagons and will

represent their best judgment as experiencad and qualified

profgesionals, farnifiar wih the eonsinetion industry,
CONSULTANT does not guarantee that proposals, bids, or
actual construction cast will not vary from Hs estimates of

project cast.

4, GENERAL

‘ 4 1 Termination

44 Etther r paity may lerminate thelr obligation lb provide.
further sSrviées upon bweinty (20) days” vaitten notice, afer
substantial default By other party through ne fault of tarmi-

.tiaiing party.

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42 Retise | of Décuments, ”

424. Al tangible ems prepared by CONSULTANT. ate
Instruments of seryied, ahd CONSULTANT tefains all capy-
Tights. CLIENT may retaki copies for raference, but reuse
‘on another project withoiit CONSULTANTS wiltten consent
fs prohiblied, CLIENT will indermify CONSULTANT, its
employees, agents, and consultants against daims zesutting
from such pmhibied rause, Said items are not intended ta
Ba suitable for completion of this project by others.

4.22 Submittal or distribution of Hlems. In connection with
project Js not pubfication in derogation of GONSULTANT-s :

fights.
4a Payment

4.34 CONSULTANT shall submit 2 monthly statement for
semces renderad, and reimbursable expenses incurred,
CLIENT sivall make prompt monthly payments,

4.32 Wf CUENT felts to make payment within thirty 60}
days after recaipt of stetement, ktevest at maxing legal

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Case 09-14814-gwz

Doc 1215-5 Entered 07/27/10 19:25:56 Page 24 of 25

rate or at arate of 18%, whichdiver is less, shall acerus; and,
in addffien, CONSULTANT may, aflar giving seven (7) days!
waitten, noiica, Slspend services until it has been pald fn full
avamountsdue if, .

4.33 CLIENT has provided of shall: provide for payment
fram one of mare lawful sources of all sums fo be pald ta
CONSULTANT.

4.3.4 CONSULTANTs compensation shall nol be reduced
en account of any amounts wahhald irom paymenis fo

contrsciors,

44 Controing Law. Aaresmat stall be govemed by
Nevada haw.

45 Successors and Assigns.

4.5.1 The parties bind themselves, their successora, z, and
legal representatives to tha other party and ta sutcesso
arid legat representatives of such other party, in respect to
alt covehanta and obligations of this Agreement,

“4.52 Neither party shall asaign, sublet, or transfér any
Intétest ih this Agreement without writen consent of the
othér, provided CONSULTANT. may employ such indepen-
dent cofsultanfs, associates, anc subcontractors a6 jt may

deem appropriate.

4.5.3 Nothing iri thls Apredment shall Be constad to. give
any rights or benefits fo anyone other than the parties.

45 CONSULTANTS Accounting Recontfa, Records of
CONSULTANTs persénnel find, reimbursable expanses,
and acedunfs between parties shall he kepte on a generally-

recognized aocouhting & basis, . ‘

a7 Separate Provisions. If any provisions of this Agres-
ment shail Be held ta be (nvalld of inenforcaabie, romaine
provi sions shall be’ ‘vali and binging. reo

“= og & Waiver. No waiver stiat constitute a waiver of any

" subsequent breach.
49 Warranty, -

4.9.1 CONSULTANT shall use regeqnable care to reflect
raghirements of all applicable laws, rules, oF regulations of
which CONSULTANT hes knowledge of about which
CUENT specifically advises in writing, which ara in effert on
dale of Agreement. CONSULTANT INTENDS 16 RENDER ~
SERVICES * ‘IN . ACCORDANCE WITH ~ GENERALLY
ACCEPTED PROFESSIONAL STANDARDS, BUT NO
OTHER WARRANTY 15 EXTENDED, EITHER EXPRESS
OR (MPLIED, IN CONNECTION WITH SUCR SERVICES.
CUENTS fights and remedies in this Agreement ara ex

dusive.

49.2 CONSULTANT shall nat be responsibls for contiac-
targ’ consinician means, methods, tachniques, SaqUences,

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pnd agents.

or proceduras, af for contactors’ safety precavijons and

: programs, or for contactors’ fallurs ta parfaim according to

contract documents.

49a The CONSULTANT believes that any compitter
sofware provided undar this Agreement is suitable for the
inended purpose, however, tdoes not warrant fie suitabili-
ly, merchantability, or finess for a particular purpose of this
software.

410 Period of Repose, Any appitcable statute of imita~
tions ShalLcormance to nan end any alleged cause of action
shail be deemed ta have acenved not letér than completion
of services to be parianmed by CONSULTANT.

4.41 Indemnification. To the fullest extent permitted by
liw, CONSULTANT shall lidemnify and hold bamless
CLIENT, CLIENTS officers, direvjisa, partners, employees,
and agenté from and against any and all calms for Bodily
injury and for damage to tangible property catibad solely by
the negligant acts or omissions of CONSULTANT of CON-
SULTANTS afficers, directors, partners, Gmployees, egents,
and CONSULTANT consiitants in the performance and
fumishing of CONSULTANT'S services under this Agia
ment, Any iadeinnification shal be limited ‘to the tenns and
amourita af coverage of the CONSULTANTs insurance

policies,

‘To the fullést extent henniitéd by lave, CUENT shall indermb
fy and held harmless CONSULTANT, CONSULTANT's
officers, directors, perifieré, employees, and agents aed
CONSULTANT's condutfants fron and againet atty and ait
claims for bodily injury and for damage to tangible property
taused ‘solely ‘by the adgligent acté of omissions of CUENT
or CUENT's officers, directors, partners, eimplayeiss, agénts,

and CUENT's consultants with respéct 6 this Agreement on

the Project,

Jn addition te the indemnity provided tinder this Section, and
{6 tha fulest extant permitted by taw, CLIENT shall indem-
nity and hold Hammiess CONSULTANT and Its afficers,
directors, parinere, employees, and agents and CONSUL~

" TANTS ‘consittants from and against all claims; costs,

Tesses, and damages (inctuding but not limited to all fees
and charges of engineers; architacts; atiomeys, aod other
professionals and alf caust of arbitration or other dispite
resolution costs} eaused by, arising aut of, or relating to the
présaniea, alscharge, relezse, of escape of asbestos, PCBs,
Beirpleum, hazardous waste; or radisactive material af, on,

. Under, or froma the Preject site,

42 Extiint of Agret nt. This Ag am rep ts the
‘patie agreement between ihe parties and may be amended
only by witten instrument signed by both parties.

443 Subrogation Waiver. ‘The parties waive all rigtils
against each otfier, and against contractors, consultanis,
agents, and'amplyees of the other fordamages covered by

" any property Insuzance during construction, and each shall

requirs sifet waivers from their convactars, consultants,

’

CL05239

secon a gyre!»
Case 09-14814-gwz Doc1215-5 Entered 07/27/10 19:25:56 Page 25 of 25

Exhibit 4
Special Provisions
Rhodes - Mohave County, Arizona

‘Special provisions to this Agreement, are stated as follows. . ‘ e

1. In consideration of Consultant's ecideavors to establish a local office in Kingman; Arizona, the
duration of this Contract will be on-going from the date of execution with indefinite end dats.

2. ‘Consuliant wil prepare 2 time/cdst report to the Client on 2 weekly basis for review and -
approval of time cliargéd to.the project. Consultant shall also invoice the Client monthly
for sexvices provided. Client sliall promptly process and pay the amount due within 30 days
receipt of invoices.’ ”

3. DER and Service Charge rates are adjusted annually in April. New company published rates will
: supersedé those attached herein. Any additional changes to the rates of team micrahers will be by io,
- an addendum letter zequésting prior approval by the client

The Client aiay terminate this Agrecinent liv a written notice to the Consultant with no less
than J mduaths advance notice, _subject to thie pavment of all fees and expenses incurred toG
through the terjuitiatiod date: Additionally. the Consultant shail be reimbursed a fee eral 2 4
to the gréater of i The: actual services rendered during the-3 month notice.period or if) an :
amount equal to the averdgé compensation under this’ contract during the previous, 20 :

mouths: for. gach. of the 3 months of the notice period. :

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